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                          UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


IN RE NATIONAL PRESCRIPTION                                           MDL No. 2804
OPIATE LITIGATION                                                     CASE NO.: 1:17-MD-2804
                                                                      Hon. Dan A. Polster

THIS DOCUMENT RELATES TO ALL CASES



        PLAINTIFFS’ MOTION FOR EXTENSION OF TIME TO RESPOND TO
        DEFENDANT KROGER’S MOTION TO MODIFY CMO-1 TO PROVIDE
         A MECHANISM TO DISMISS IMPROPERLY NAMED DEFENDANTS


        Plaintiffs respectfully move this Court for an extension of time of 7 days beyond the current

deadline of February 21, 2019 (until March 1, 2019) within which to respond to Defendant

Kroger’s Motion to Modify CMO-1 to Provide a Mechanism to Dismiss Improperly Named

Defendants [Doc # 1350].

        Plaintiffs request this extension of time to respond on the basis that the Plaintiffs are

currently working with Defendants on a proposed resolution. The moving Defendants have either

consented to Plaintiffs’ request for an extension of time or have expressed no objections to

Plaintiffs’ request.

        WHEREFORE, Plaintiffs respectfully request an extension of 7 days, until March 1, 2019

to respond to Defendant Kroger’s Motion to Modify CMO-1 to Provide a Mechanism to Dismiss

Improperly Named Defendants.
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                                            Respectfully submitted,


                                             /s/Anthony J. Majestro___               _
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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 22, 2019, I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF system. Copies will be served upon counsel of record by,

and may be obtained through, the Court CM/ECF system.



                                             /s/Anthony J. Majestro___               _
                                            Anthony J. Majestro, Esquire (WV Bar #5165)
